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                                                                           MONTGOMERY COUNTY,ALABAMA
                                                                             TIFFANY B. MCCORD,CLERK
           IN THE CIRCUIT COURT OF MONTGOMERY COUNTY,ALABAMA



THE CONE INSURANCE COMPANY,INC

          Plaintiff

v.
                                                                     CASE NO.:
AUTO OWNERS INS COMPANY
BEAVERS RESTAURANT GROUP,INC,

          Defendants.


                        COMPLAINT FOR DECLARATORY JUDGMENT

                                          INTRODUCTION

     1.   This action arises from a dispute over the amount and who is responsible for the payment

          ofcertain insurance premiums.

     2. The Cone Insurance Company,Inc. seeks a declaration that it is not responsible for the

          premiums and requests that the Court order Auto Owners Insurance Company to refund

          the money it took from The Cone Insurance Company and/or for Beavers to pay the

          premiums owed to the Cone Company.

                                                   PARTIES


     3. The Cone Insurance Company,Inc. is an Alabama corporation with it offices located in

          Montgomery County, Alabama. At all material time, the Cone Company was licensed by

          the State ofAlabama to sell insurance and was licensed to sell policies for Auto Owners

          Insurance Company.

     4. Auto Owners Insurance Company is a foreign insurance company with its Statutory

          Home Office located at 6101 Anacapri Blvd., Lansing, MI 48917-3999 that is licensed to

          sell policies in the state of Alabama.
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5. Beavers Restaurant Group,Inc. is a corporation licensed to do business in the State of

   Alabama. Its Registered Agent for Service is Arbys, Attention John Howell, 707 D Boll

   Weevil Circle, Enterprise, Al 36330.

                                   STATEMENT OF FACTS

6. The Cone Company sold an Auto Owners policy to Beavers.

7. In accordance with the terms of the policy, Beavers' premiums were essentially estimates

   that would be adjusted by an audit by Auto Owners.

8. In or around July of2017, Auto Owners conducted an audit of Beavers which,if correct,

   would have required Beavers to pay additional premiums.

9. Beavers disputed the audit and Auto Owners was notified ofthe dispute.

10. Rather than resolve the dispute with Beavers as required, Auto Owners directly drafted

   the disputed amount from a Cone Company Operating Account.

                                  courrr I
                          (DECLARATORY JUDGMENT)

11. The Cone Company realleges all paragraphs of this Complaint as if set out here in full.

12. This DJA is brought pursuant to Ala. Code § 6-6-220-232 and A.R.C.P 57 and

   specifically Ala. Code § 6-6-223 which provides for a detennination any question of

   construction or validity arising under a contract and a declaration ofrights, status, or

   other legal relations under the contract.

13. The Cone Company is a person interested under a written contract, or other writings

   constituting a contract, and whose rights, stattis, or other legal relations are affected by

   the contract.

14. A judiciable controversy exists between the parties with respect to the amount ofand who

   is responsible for the payment of certain insurance premiums.
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   WHEREFORE,the Cone Company requests the Court hold a hearing and then enter a

declaration that the Cone Company is entitled to be reimbursed the amount of money Auto

Owners withdrew from its account; detemiine the amounts that either or both ofthe Defendants

must contribute to the award; and award interest and such costs as may seem equitable and just.

                                                   S/Kenneth J. Mendelsohn
                                                   Kenneth J. Mendelsohn(MEN 001)
                                                   Attorney for Plaintiff



Defendants should be served by certified mail asfollows:

Auto Owners Insurance Company
6101 Anacapri Blvd.
Lansing, MI 48917-3999

Beavers Restaurant Group,Inc.
Arbys, Attention John Howell
707 D Boll Weevil Circle
Enterprise, Al 36330.
